4:15-cr-03026-RGK-CRZ            Doc # 13       Filed: 03/04/15       Page 1 of 1 - Page ID # 31




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,

                          Plaintiff,                                       4:15MJ3014

         vs.
                                                            TEMPORARY DETENTION ORDER
 JOSE PRECIADO,

                          Defendant.

         Pending the detention hearing in this case scheduled for March 5, 2015,

         IT IS ORDERED:

         The defendant is committed to the custody of the Attorney General or a designated
 representative for confinement in a corrections facility separate, to the extent practicable, from
 persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
 afforded a reasonable opportunity to consult privately with defense counsel. On order of United
 States Court or on request of an attorney for the Government, the person in charge of the
 corrections facility must deliver the defendant to the United States marshal for a court
 appearance.




         March 4, 2015.

                                                   BY THE COURT:



                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
